                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

  KEVIN WYMORE,                                      No. 22-CV-66 CJW-KEM
                 Plaintiff,                          ORDER SCHEDULING
                                                      ORAL ARGUMENT
  vs.
  THE CITY OF CEDAR RAPIDS, and
  TIFFANY O’DONNELL, Mayor of the
  City of Cedar Rapids in her individual
  and official capacity,
                 Defendants.
                                ____________________

        The Court will conduct oral argument on the motion for preliminary injunction
(Doc. 6), on Tuesday, October 4, 2022, at 9:00 a.m.; United States Courthouse,
Courtroom 3, 111 Seventh Avenue SE, Cedar Rapids, Iowa.
        The parties are reminded to comply with LR 5A(g)(8), filings totaling more than
100 pages in length. (See LR 10(c)(3)). The copies should be printed from the docket
so the file stamped information is on the bottom of each page.
        IT IS SO ORDERED this 13th day of September, 2022.



                                        _________________________
                                        C.J. Williams
                                        United States District Judge
                                        Northern District of Iowa




        Case 1:22-cv-00066-CJW-KEM Document 11 Filed 09/13/22 Page 1 of 1
